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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                   JACKSONVILLE DIVISION


    MORGAN STANLEY SMITH BARNEY,
    LLC,

                                Plaintiff,

    vs.                                                  Case No. 3:18-cv-00141-J-34MCR

    DANIEL J. ABEL,

                         Defendant.
_____________________________________/

                                             ORDER

        THIS CAUSE is before the Court on the parties’ Joint Notice Regarding Stipulation

of Continuance of Temporary Restraining Order (Joint Notice, Doc. 23), filed February

16, 2018. In the Joint Notice, the parties, Plaintiff Morgan Stanley (Morgan Stanley), and

Defendant Daniel J. Abel (Abel), informed the court of their stipulation to a continuance

of the Temporary Restraining Order which was entered by this Court on January 23, 2018

(Temporary Restraining Order, Doc. 10), extended by the Court on February 5, 2018

(TRO Extension, Doc. 19), and is set to expire at 5 p.m., Tuesday, February 20, 2018.

        Morgan Stanley initially sought a temporary restraining order from this Court

precluding Abel, and anyone acting in concert with him, from soliciting Morgan Stanley’s

customers, in violation of the employee agreement between the parties. The Court

granted Morgan Staley’s request on January 23, 2018, and entered a TRO, which was to

remain in effect until 5 p.m., Tuesday, February 6, 2018. On February 1, 2018, Morgan

Stanley filed an Emergency Motion (Emergency Motion, Doc. 14) with the Court seeking

                                                      
     
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a stay of the proceedings and an extension of the TRO pending the parties’ completion

of pending arbitration. See generally Emergency Motion. The Court granted Morgan

Stanley’s Emergency Motion, and extended the TRO until 5 p.m., Tuesday, February 20,

2018, and also stayed the proceedings and administratively closed the case. See TRO

Extension at 9-10. The parties now jointly seek a continuance of the TRO until the earliest

of either the completion of arbitration between the parties which will determine the

extension, dissolution or modification of the TRO; an agreement between the parties; or,

January 12, 2019. See Joint Notice at 1-2.

       Rule 65(b)(2) of the Federal Rules of Civil Procedure (Rule(s)), guides that a

temporary restraining order shall not “exceed 14 days . . . unless before that time the

court, for good cause, extends it for a like period or the adverse party consents to a longer

extension.” Rule 65(b)(2). In response to Morgan Stanley’s Emergency Motion, and as

detailed in its February 5, 2018, TRO Extension, the Court extended the original TRO for

and additional fourteen days, to expire on Tuesday, February 20, 2018. See TRO

Extension. The parties now jointly appear before the Court and seek a further extension

of the TRO. In accordance with Rule 65(b)92), Abel, as the party adverse to Morgan

Staley’s initial request for the TRO, has consented to a longer extension of the period of

restraint. Accordingly, this Court determines that the TRO should be continued and the

case remain stayed.

    In consideration of the foregoing, it is ORDERED:




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    1. The Court’s Temporary Restraining Order (Doc. 10), which was issued on January

       23, 2018, and due to expire at 5 p.m., February 20, 2018, is continued until the

       earliest of:

             a. The date set forth in an order from the FIRNA arbitration panel for the

                extension, dissolution, or modification of the Temporary Restraining Order;

             b. The agreement of the Parties memorialized in writing; or

             c. 5 p.m. on January 12, 2019.

    2. The case shall remain stayed and administratively closed.




       DONE AND ORDERED at Jacksonville, Florida on February 20, 2018, nunc pro

tunc to 4 p.m.




                                                                                               
                                                                                               




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Copies to:

Counsel of Record
Pro Se Parties
 


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